                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                              No. 17-CR-1022-LTS

 vs.
                                                         REPORT AND
 GREGORY STAPLETON,                                   RECOMMENDATION

                Defendant.
                             ___________________________

         On August 14, 2017, the above-named Defendant Gregory Stapleton, by consent
(Doc. 21), appeared before the undersigned United States Magistrate Judge pursuant to
Federal Rule of Criminal Procedure 11, and entered pleas of guilty to Counts 1 and 2 of
the Information (Doc. 19) and Count 2 of the Indictment (Doc. 3). After cautioning and
examining the Defendant under oath concerning each of the subjects mentioned in Rule
11, the court determined that the guilty pleas were knowledgeable and voluntary, and the
offenses charged were supported by an independent basis in fact containing each of the
essential elements of the offenses. The court therefore RECOMMENDS that the pleas
of guilty be accepted and the Defendant be adjudged guilty.
         At the commencement of the Rule 11 proceeding, the Defendant was placed under
oath and advised that if he answered any questions falsely, he could be prosecuted for
perjury or for making a false statement. He also was advised that in any such prosecution,
the Government could use against him any statements he made under oath.
         The court asked a number of questions to ensure the Defendant’s mental capacity
to enter a plea. The Defendant stated his full name, his age, and the extent of his




       Case 2:17-cr-01022-LTS-MAR      Document 25     Filed 08/16/17    Page 1 of 7
schooling. The court inquired into the Defendant’s history of mental illness and addiction
to narcotic drugs. The court further inquired into whether the Defendant was under the
influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.
From this inquiry, the court determined that the Defendant was not suffering from any
mental disability that would impair his ability to make knowing, intelligent, and voluntary
pleas of guilty to the charges.
       The Defendant acknowledged that he had received a copies of both the Information
and the Indictment, and he had fully discussed these charges with his attorney.
       The court determined that the Defendant was pleading guilty under a plea
agreement with the Government.       After confirming that a copy of the written plea
agreement was in front of the Defendant and his attorney, the court determined that the
Defendant understood the terms of the plea agreement. The court summarized the plea
agreement, and made certain the Defendant understood its terms.
       The court explained to the Defendant that because the plea agreement provided for
dismissal of charges if he pleaded guilty, a presentence report would be prepared and a
district judge would consider whether or not to accept the plea agreement. If the district
judge decided to reject the plea agreement, then the Defendant would have an opportunity
to withdraw his pleas of guilty and change them to not guilty.
       The Defendant was advised also that after his pleas were accepted, he would have
no right to withdraw the pleas at a later date, even if the sentence imposed was different
from what the Defendant or his counsel anticipated.
       The court summarized the charges against the Defendant, and listed the elements
of the crimes. The court determined that the Defendant understood each and every
element of the crimes, ascertained that his counsel had explained each and every element

                                            2




    Case 2:17-cr-01022-LTS-MAR         Document 25      Filed 08/16/17    Page 2 of 7
of the crimes fully to him, and the Defendant’s counsel confirmed that the Defendant
understood each and every element of the crimes charged.
      The court elicited a full and complete factual basis for all elements of the crimes
charged in each Count of both the Information and the Indictment to which the Defendant
was pleading guilty.
      The court advised the Defendant of the consequences of his pleas, including, for
each Count, the maximum fine, the maximum term of imprisonment, the mandatory
minimum term of imprisonment, and the possibility that restitution could be ordered and
term of supervised release.
      With respect to Count 1 of the Information, the Defendant was advised that the
maximum fine is $1,000,000; the maximum term of imprisonment is life; the mandatory
minimum term of imprisonment is 20 years; the maximum period of supervised release
is life; and the minimum period of supervised release is 3 years.
      With respect to Count 2 of the Information, the Defendant was advised that the
maximum fine is $250,000; the maximum term of imprisonment is 10 years; and the
maximum period of supervised release is 3 years. The Defendant was further advised
that if the court finds that defendant qualifies as an Armed Career Criminal, Count 2 of
the Information is punishable by a maximum fine of $250,000; the maximum term of
imprisonment is life; the mandatory minimum term of imprisonment is 15 years; and the
maximum term of supervised release is 5 years.
      With respect to Count 2 of the Indictment, the Defendant was advised that the
maximum fine is $250,000; the maximum term of imprisonment is 20 years; and the
maximum period of supervised release is 3 years.



                                           3




    Case 2:17-cr-01022-LTS-MAR        Document 25      Filed 08/16/17   Page 3 of 7
       Because the Defendant is pleading guilty to multiple counts, the Defendant was
advised that the court could order one or more of the sentences to run consecutive.
Therefore, the Defendant was advised that the total maximum fine is $1,500,000; the
total maximum term of imprisonment is life; and the total maximum term of supervised
release is life.
       The Defendant also was advised that the court is obligated to impose a special
assessment of $100.00 on each Count, for a total of $300, which the Defendant must pay.
The Defendant also was advised of the collateral consequences of a plea of guilty. The
Defendant acknowledged that he understood all of the above consequences.
       The court explained supervised release to the Defendant, and advised him that a
term of supervised release would be imposed in addition to the sentence of imprisonment.
The Defendant was advised that there are conditions of supervised release, and that if he
were found to have violated a condition of supervised release, then his term of supervised
release could be revoked and he could be required to serve in prison all or part of the
term of supervised release without credit for time previously served on supervised
release.
       The court also explained to the Defendant that the district judge would determine
the appropriate sentence for him at the sentencing hearing. The Defendant confirmed
that he understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. The Defendant acknowledged that he understood the sentence imposed might
be different from what his attorney had estimated. The Defendant also was advised that
both he and the Government would have the right to appeal the sentence. The Defendant
was advised that parole has been abolished.

                                              4




     Case 2:17-cr-01022-LTS-MAR        Document 25     Filed 08/16/17    Page 4 of 7
       The Defendant indicated he had conferred fully with his counsel and he was fully
satisfied with his counsel. The Defendant’s attorney indicated that there is a factual basis
for the guilty pleas.
       The Defendant was advised fully of his right to plead not guilty, or having already
entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
       2.     The right to a speedy, public trial;
       3.     The right to have his case tried by a jury selected from a cross-section of
              the community;
       4.     That he would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and
              every element of the offense beyond a reasonable doubt;
       5.     That the Government could call witnesses into court, but the Defendant’s
              attorney would have the right to confront and cross-examine these
              witnesses;
       6.     That the Defendant would have the right to see and hear all witnesses
              presented at trial;
       7.     That the Defendant would have the right to subpoena defense witnesses to
              testify at the trial, and if he could not afford to pay the fees and costs of
              bringing these witnesses to court, then the Government would be required
              to pay those fees and costs;
       8.     That the Defendant would have the privilege against self-incrimination; i.e.,
              he could choose to testify at trial, but he need not do so, and if he chose not
              to testify, then the court would instruct the jury that the Defendant had a
              constitutional right not to testify;
       9.     That any verdict by the jury would have to be unanimous;




                                             5




    Case 2:17-cr-01022-LTS-MAR          Document 25      Filed 08/16/17     Page 5 of 7
          10.   That he would have the right to appeal, and if he could not afford an
                attorney for the appeal, then the Government would pay the costs of an
                attorney to prepare the appeal.
          The Defendant also was advised of the rights he would waive by entering a plea
of guilty. The Defendant was told there would be no trial, he would waive all the trial
rights just described, and he would be adjudged guilty without any further proceedings
except for sentencing.
          The Defendant confirmed that his decision to plead guilty was voluntary and was
not the result of any promises, other than plea agreement promises; and his decision to
plead guilty was not the result of any threats, force, or anyone pressuring him to plead
guilty.
          The Defendant confirmed that he still wished to plead guilty, and he pleaded guilty
to Counts 1 and 2 of the Information and Count 2 of the Indictment.
          The court finds the following with respect to the Defendant’s guilty plea:
          1.    The guilty plea is voluntary, knowing, not the result of force, threats or
                promises, except plea agreement promises, and the Defendant is fully
                competent.
          2.    The Defendant is aware of the maximum punishment.
          3.    The Defendant knows his jury rights.
          4.    The Defendant has voluntarily waived his jury rights.
          5.    There is a factual basis for the plea.
          6.    The Defendant is, in fact, guilty of the crimes to which he is pleading guilty.
          The Defendant was advised that a written presentence investigation report would
be prepared to assist the court in sentencing. The Defendant was told that he and his
counsel would have an opportunity to read the presentence report before the sentencing


                                               6




    Case 2:17-cr-01022-LTS-MAR            Document 25      Filed 08/16/17     Page 6 of 7
hearing and to object to the contents of the report, and he and his counsel would be
afforded the opportunity to present evidence and be heard at the sentencing hearing.
       Pursuant to Federal Rule of Criminal Procedure 32.2(b)(1), the court made a
finding that the Government has established the requisite nexus between defendant's
offense and the property described in the Indictment’s forfeiture allegation.
       The defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar him from
attacking this court’s Report and Recommendation, which recommends that the assigned
United States District Judge accept the defendant’s plea of guilty. Defendant was advised
that he may waive any right to file written objections to this Report and Recommendation
by filing a written waiver form.           The “Waiver of Objections to Report and
Recommendation” form is available on the Court’s web page.
       United States v. Cortez-Hernandez, 2016 WL 7174114 (8th Cir. 2016) (per
curiam), suggests that a defendant may have the right to de novo review of a magistrate
judge’s recommendation to accept a plea of guilty even if no objection is filed. But see
28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will undertake
a de novo review of the Report and Recommendation if a written request for such review
is filed within fourteen (14) days after this order is filed.
       DONE AND ENTERED at Cedar Rapids, Iowa, this 16th day of August, 2017.




                                           __________________________________
                                           C.J. Williams
                                           Chief United States Magistrate Judge
                                           Northern District of Iowa


                                              7




    Case 2:17-cr-01022-LTS-MAR           Document 25      Filed 08/16/17   Page 7 of 7
